UNPUBLISHED
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            CASES
Hasson v. FullStory, Inc., Not Reported in Fed. Supp. (2023)


                                                                  authentic documents if the complainant's claims are based
                     2023 WL 4727619                              upon these documents.” Aubrey v. City of Bethlehem, Fire
      Only the Westlaw citation is currently available.           Dep't, 466 F. App'x 88, 91 (3d Cir. 2012). If other matters
      United States District Court, W.D. Pennsylvania.            are considered, then the motion must be treated as one
                                                                  for summary judgment, providing for additional protections
       Kenneth HASSON, individually and on behalf                 for plaintiff. Fed. R. Civ. P. 12(b)(d). In deciding motions
         of all others similarly situated, Plaintiff,             to dismiss, courts may consider “matters incorporated by
                             v.                                   reference or integral to the claim [and] items subject to
                                                                  judicial notice.” Buck v. Hampton Twp. Sch. Dist. ̧452
             FULLSTORY, INC., Defendant.
                                                                  F.3d 256, 260 (3d Cir. 2006). Additionally, a document
                        2:22-cv-1246                              integral to or explicitly relied upon in the complaint may be
                               |                                  considered without converting the motion to dismiss into one
                     Signed July 25, 2023                         for summary judgment. In re Burlington Coat Factory Sec.
                                                                  Litig., 114 F.3d 1410, 1426 (3d Cir. 1997).
Attorneys and Law Firms
                                                                  The judicial notice rule allows the court to “take judicial
Gary F. Lynch, Elizabeth Pollock-Avery, Jamisen A. Etzel,
                                                                  notice of public records.” Oran v. Stafford, 226 F.3d 275,
Kelly K. Iverson, Nicholas Colella, Patrick D. Donathen,
                                                                  289 (3d Cir. 2000). Federal Rule of Evidence 201(b) states:
Lynch Carpenter, LLP, Pittsburgh, PA, for Plaintiff.
                                                                  “The Court may judicially notice a fact that is not subject
Emily Henn, Pro Hac Vice, Covington & Burling LLP,                to reasonable dispute because it: (1) is generally known
Palo Alto, CA, Eric C. Bosset, Pro Hac Vice, Michael              within the trial court's territorial jurisdiction; or (2) can
X. Imbroscio, Covington & Burling LLP, Washington, DC,            be accurately and readily determined from sources whose
Matthew Verdin, Pro Hac Vice, Covington & Burling LLP,            accuracy cannot reasonably be questioned.” Federal Rule of
San Francisco, CA, Peter S. Wolff, Pietragallo Gordon Alfano      Evidence 201(c)(2) further explains that a court “must take
Bosick & Raspanti, LLP, Pittsburgh, PA, Stephen Francis           judicial notice if a party requests it and the court is supplied
Raiola, Kibler Fowler & Cave LLP, Pittsburgh, PA, for             with the necessary information.” Fed. R. Evid. 201(c)(2).
Defendant.                                                        Upon judicial notice, the document “may only be considered
                                                                  for the limited purpose of showing that a particular statement
                                                                  was made by a particular person” and not “for the truth of
                                                                  the matters purportedly contained within those documents.”
               MEMORANDUM OPINION
                                                                  Oran, 226 F.2d at 289 (citations omitted). For a document
Marilyn J. Horan, United States District Judge                    to be subject to judicial notice, it must not be “reasonably
                                                                  subject to dispute.” Victaulic Co. v. Tieman, 499 F.3d 227,
 *1 Presently before the Court is Defendant FullStory, Inc.’s     236 (3d Cir. 2007). “Concerns regarding the authenticity or
Motion for Judicial Notice. (ECF No. 29). FullStory filed its     completeness of a document are the types of concerns that
Motion for Judicial Notice on January 23, 2023, the same          render a document reasonably subject to dispute.” Ryanair
day it filed its Motion to Dismiss Plaintiff Kenneth Hasson's     DAC v. Booking Holdings, Inc., 2022 WL 13946243, at *3
Amended Complaint for Lack of Jurisdiction and Failure            (D. Del. Oct. 24, 2022).
to State a Claim. (ECF Nos. 27 & 29). Mr. Hasson filed a
Response in Opposition, (ECF No. 30), and FullStory filed
a Reply brief. (ECF No. 31). FullStory's Motion for Judicial        II. Discussion
Notice is now ripe for decision. For the following reasons,
FullStory's Motion for Judicial Notice is granted as to Exhibit           A. Texas Secretary of State Public Record
5, but denied as moot as to Exhibits 1-4.
                                                                   *2 FullStory argues that the Court should take judicial notice
                                                                  of a public record from the Texas Secretary of State's website,
  I. Relevant Legal Standards                                     stating that Mattress Firm is incorporated in Texas and has its
Generally, “[i]n deciding a Rule 12(b)(6) motion, a court         principal place of business in Texas. (ECF No. 29, at 4). Mr.
must consider only the complaint, exhibits attached to the        Hasson argues that the Court should decline to take judicial
complaint, matters of public record, as well as undisputedly


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notice of the Texas Secretary of State's website, as Mattress
Firm's state of incorporation and principal place of business
are irrelevant to the Court's personal jurisdiction analysis of                     B. Mattress Firm's Pop-Up Consent
FullStory's Motion to Dismiss. (ECF No. 30, at 5-6).                                    Banners & Privacy Policies

Mattress Firm's state of incorporation and principal place              FullStory argues that the Court should consider Mattress
of business are directly relevant to the Court's inquiry into           Firm's pop-up consent banners and privacy policies, (Exhibits
whether it has personal jurisdiction over FullStory in this case.       1-4), in deciding its Motion to Dismiss, as these documents
FullStory provides software services to Mattress Firm. (ECF             are explicitly referenced in the Amended Complaint. (ECF
No. 23, ¶ 69). FullStory is a Georgia company. (ECF No. 23,             No. 29, at 2). Mr. Hasson argues that the Court should decline
¶ 6). And, as per Exhibit 5 of FullStory's Motion for Judicial          to consider Exhibits 1-4 in deciding FullStory's Motion to
Notice, Mattress Firm is a Texas corporation. (ECF No. 29-5,            Dismiss as the documents cannot be properly authenticated
at 2).                                                                  as being representative of what Mr. Hasson saw when he was
                                                                        browsing the Mattress Firm website. (ECF No. 30, at 3). As
FullStory's software code is embedded on the Mattress Firm              this matter is being resolved on a jurisdictional basis, ruling
website to learn about how visitors use Mattress Firm's                 on FullStory's Motion for Judicial Notice as to Mattress Firm's
website. (ECF No. 23, ¶¶ 42, 69). Mattress Firm uses                    pop-up consent banners and privacy policies is not necessary.
FullStory's session replay feature that provides a reproduction
of a user's online experience to understand how visitors
interact with Mattress Firm's website. (ECF No. 23, ¶ 41).                                C. FullStory's Webpage

Mr. Hasson is a Pennsylvania resident who visited Mattress              Although FullStory initially requested the Court to take
Firm's website from his home computer in Pennsylvania.                  judicial notice of the Mattress Firm webpage in its Motion for
(ECF No. 23, ¶ 67). Mr. Hasson alleges that FullStory                   Judicial Notice, it has withdrawn its request. (ECF No. 31, at
script intercepted his movements on Mattress Firm's website,            3 n.1). As such, the Court will take no action upon FullStory's
including clicks, URLs of web pages visited, keystrokes,                withdrawn Motion for Judicial Notice of FullStory's webpage.
and personal data, i.e. his name, address, email address, and
payment information, that he allegedly entered at the Mattress
Firm website. (ECF No. 23, ¶¶ 1, 71, 76, 79).                             III. Conclusion
                                                                        FullStory's Motion for Judicial Notice is granted as to Exhibit
Under the facts of this case, Mattress Firm's state of                  5 but denied as moot as to Mattress Firm's pop-up consent
incorporation and principal place of business are directly              banners and privacy policies.
relevant to the Court's personal jurisdiction inquiry. Thus,
FullStory's motion for judicial notice as to the Texas Secretary
                                                                        All Citations
of State's website, concerning Mattress Firm's state of
incorporation and principal place of business, is granted.              Not Reported in Fed. Supp., 2023 WL 4727619

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Plumbers' Local Union No. 690 Health Plan v. Apotex Corp., Not Reported in Fed....




                                                               I. INTRODUCTION
                    2017 WL 4235773
                                                                *1 Plaintiff Plumbers Local Union No. 690 Health Plan
      Only the Westlaw citation is currently available.
                                                               (“Plumbers”) is a health insurance plan that provides
      United States District Court, E.D. Pennsylvania.
                                                               prescription drug coverage to members of Plumbers Local
                                                               Union No. 690. Defendants (“Generic Drug Manufacturers”)
           PLUMBERS' LOCAL UNION NO.
                                                               are pharmaceutical companies who distribute, market and sell
             690 HEALTH PLAN, Plaintiff,
                                                               generic prescription pharmaceutical drugs. Plumbers brings
                        v.
                                                               this putative class action against a multitude of Generic Drug
           APOTEX CORP., et al., Defendants.                   Manufacturers alleging claims under Pennsylvania state law
                                                               for violations of the Pennsylvania Unfair Trade Practices
                 CIVIL ACTION No. 16-665
                                                               and Consumer Protection Law, negligent misrepresentation,
                             |
                                                               unjust enrichment, civil conspiracy, and aiding and abetting
                     Filed 09/25/2017
                                                               (“Pennsylvania Claims”). Plumbers also brings claims against
Attorneys and Law Firms                                        Generic Drug Manufacturers for violations of the consumer
                                                               protection laws of forty-eight additional states and two
Donald E. Haviland, Jr., Christina Marie Philipp, William H.   territories (“Non-Pennsylvania Claims”). 1 Generic Drug
Platt, II, Jay W. Chamberlin, Haviland Hughes LLC, Ambler,     Manufacturers move to dismiss the Amended Complaint.
PA, Dion G. Rassias, Jillian E. Johnston, The Beasley Firm,    For the reasons set forth below, I will grant Generic Drug
LLC, Philadelphia, PA, for Plaintiff.                          Manufacturers' motions to dismiss.
James W. Matthews, John F. Nagle, Katy E. Koski, Foley
& Lardner LLP, Boston, MA, Ann E. Querns, Terry M.             II. BACKGROUND
Henry, Daniel E. Rhynhart, Michael A. Iannucci, Blank
Rome LLP, Michael K. Twersky, Samuel S. Dalke, Fox               A. Current Litigation 2
Rothschild, LLP, William M. Connolly, Drinker Biddle &
Reath, LLP, Alexander D. MacMullan, Joseph E. O'Neil,
Ricky Mario Guerra, Lavin O'Neil Cedrone & Disipio, Jan P.                            1. The Parties
Levine, Lindsay D. Breedlove, Logan Anderson, Michael Jay
                                                               Generic Drug Manufacturers are pharmaceutical companies
Hartman, Pepper Hamilton LLP, Lindsey R. Harteis, Rachel
                                                               who distribute, market and sell generic prescription
Beth Weil, Michael T. Scott, Reed Smith LLP, Philadelphia,
                                                               pharmaceutical drugs. Am. Compl. ¶ 1. Plumbers is a
PA, D. Jarrett Arp, Melanie L. Katsur, Scott D. Hammond,
                                                               health insurance plan that provides health coverage, including
William Jeremy Robison, Gibson Dunn & Crutcher LLP,
                                                               prescription drug coverage to members of the plan (“Plan
Graciela M. Rodriguez, Nikesh Jindal, King & Spalding LLP,
James P. Ellison, Jennifer McVey Thomas, Hyman Phelps &        Members”). 3 See, e.g., Am. Compl. ¶ 157.
McNamara PC, Jason R. Parish, Jennifer G. Levy, Timothy J.
Geverd, Kirkland & Ellis LLP, Stephen D. Brody, O'Melveny
& Myers LLP, Washington, DC, David C. Kistler, Blank                     2. Reimbursements for Prescription
Rome LLP, Jeffrey A. Carr, Pepper Hamilton LLP, Princeton,               Drugs and Average Wholesale Prices
NJ, Joseph E. Wolfson, Mark C. Franek, Stevens & Lee, King
of Prussia, PA, Heather K. McDevitt, Joseph Angland, Joshua    Medical professionals prescribe drugs to Plan Members.
D. Weedman, Michael J. Gallagher, White & Case LLP,            Plan Members acquire these drugs either at pharmacies
Clifford Katz, William A. Escobar, Kelley Drye & Warren        authorized by medical professionals to dispense these drugs
LLP, New York, NY, for Defendants.                             or medical professionals administer these drugs directly to
                                                               Plan Members. Am. Compl. ¶ 163. After a pharmacist
                                                               or medical professional (“Provider”) supplies a drug to a
                    MEMORANDUM                                 Plan Member, the Provider then seeks reimbursement from
                                                               Plumbers. The Provider typically bills Plumbers for each
ANITA B. BRODY, District Judge                                 prescription drug based on the Average Wholesale Price
                                                               (“AWP”) for the drug, Am. Compl. ¶¶ 165, 169, and Plumbers



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pays the provider for the prescription drug “using a formula     compendia, those inflated AWPs would increase and distort
which includes AWP as a key component of the amount of           reimbursement levels.” Am. Compl. ¶ 184. This, of course,
reimbursement,” 4 Am. Compl. ¶ 157.                              would harm third-party payors, like Plumbers, who reimburse
                                                                 the cost of prescription drugs for Plan Members. Am.
 *2 Plumbers obtained the AWP for each prescription drug         Compl. ¶ 185. To perpetuate their “unfair and deceptive
from pricing compendia, including First Databank’s Blue          marketing and sales scheme,” Am. Compl. ¶ 611, Generic
Book, Medical Economics' Red Book, and Medispan. Am.             Drug Manufacturers “engaged in a continuing conspiracy to
Compl. ¶¶ 158, 180. Generic Drug Manufacturers provided          deceive Plaintiff and the Class by causing them to pay more
the AWP value for each of their drugs to the pricing             for [ ] drugs than they otherwise would have,” Am. Compl.
compendia. Am. Compl. ¶¶ 158, 182. The AWPs that                 ¶ 610.
appeared in the pricing compendia were solely based on
the information Generic Drug Manufacturers reported to the
                                                                     B. Prior Litigation
compendia. Am. Compl. ¶ 158, 182. The “actual transactional
                                                                 Prior to the current litigation, Plumbers had already
price data—the amounts charged to the medical providers and
                                                                 participated in two other actions: International Union
others for their drugs—was not publically available.” Am.
                                                                 of Operating Engineers, Local No. 68 Welfare Fund v.
Compl. ¶ 183.
                                                                 Astrazeneca PLC, et al., No. MON-L-3136-06 (N.J. Super.
                                                                 Ct. Eq. Div. filed June 30, 2003), a New Jersey state court
                                                                 class action (the “New Jersey AWP Class Action”) and
           3. Average Wholesale Price Inflation                  In re Pharmaceutical Industry Average Wholesale Price
                                                                 Litigation, MDL No. 1456, Civil Action No. 01-12257
Since at least 1991 to the present, the AWPs relied on by        (D. Mass. filed Dec. 19, 2001), a multidistrict litigation
Plumbers failed to reflect the actual average wholesale prices   class action in the United States District Court District of
that Providers paid for the prescription drugs. Am. Compl. ¶     Massachusetts (the “MDL AWP Class Action”) (collectively,
171. Generic Drug Manufacturers have intentionally inflated      the “AWP Class Actions”). The allegations in the current
their reported AWPs, and the Providers have billed Plumbers      litigation and in the AWP Class Actions closely resemble
at these inflated AWPs for the generic drugs. Am. Compl.         each other. All three actions were brought against drug
¶¶ 163, 200. Consequently, Plumbers has reimbursed the           manufacturers who allegedly engaged in the following
Providers for Plan Members' purchases of the generic drugs       unlawful scheme:
based upon inflated AWPs. Am. Compl. ¶ 29.
                                                                    *3 a. The artificial inflation of the AWPs for their drugs;
“Throughout the relevant time period, [Generic Drug
Manufacturers] were aware that a figure called the AWP             b. The creation of spreads between the set AWPs and the
was the embedded standard used by virtually all payors                actual price paid by medical providers;
for drug products ... to determine how much to reimburse
                                                                   c. The provision of free goods to medical providers, which
and pay for a given drug.” Am. Compl. ¶ 173. Generic
                                                                      were not accounted for in the reported AWPs;
Drug Manufacturers “deliberately and intentionally” inflated
their AWPs “so that the [ ] [P]roviders who purchased and          d. The provision of other financial inducements to medical
dispensed these drugs at a low cost would bill patients               providers that were not accounted for in the reported
and their insurers at the inflated AWPs, and thereby earn a           AWPs; and
substantial profit from the ‘spread’ between the real cost and
the various AWP-related reimbursement rates.” Am. Compl.           e. The concealment of the inflation of the AWPs.
¶¶ 208-09. Generic Drug Manufacturers intentionally inflated
their AWPs to provide higher financial remuneration to the       Am. Compl. ¶ 196; Revised Fifth Amended Master
Providers. They did so to encourage the Providers to purchase    Consolidated Class Action Complaint ¶¶ 174, 177, 180,
more of their generic drugs thereby increasing Generic           204, In re Pharmaceutical Industry Average Wholesale Price
Drug Manufacturers' market share for their prescription          Litigation, MDL No. 1456, Civil Action No. 01-12257 (D.
drugs. Am. Compl. ¶¶ 176, 188. Accordingly, Generic Drug         Mass. Apr. 26, 2007), ECF No. 4106 [hereinafter MDL AWP
Manufacturers “knew or should have known that when               Compl.]; 5 Complaint ¶¶ 15, 138, Int'l Union of Operating
they did not report actual average wholesale prices to the       Eng'rs, Local No. 68 Welfare Fund v. Astrazeneca PLC, et



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al., No. MON-L-3136-06 (N.J. Super. Ct. Eq. Div. June 30,         law, against the same defendants, as [IUOE].” Pl.'s Reply in
2003), ECF No. 241-5 [hereinafter N.J. AWP Compl.].      6        Support Mot. to Add Class Representatives at 6, Int'l Union of
                                                                  Operating Eng'rs, Local No. 68 Welfare Fund v. Astrazeneca
                                                                  PLC, et al., No. MON-L-3136-06 (N.J. Super. Ct. Law. Div.
                                                                  Oct. 5, 2009), ECF No. 241-11 [hereinafter N.J. AWP Reply].
          1. The New Jersey AWP Class Action                      Although some examples of drugs purchased by Plumbers
                                                                  differed from those purchased by IUOE, the lack of complete
In 2003, the International Union of Operating Engineers,
                                                                  overlap was insignificant because “[i]t [wa]s the conduct of
Local No. 68 Welfare Fund (“IUOE”) filed a state-law
                                                                  Defendants in implementing a scheme to inflate AWPs for
class action complaint in the Superior Court of New Jersey
                                                                  their drugs that typifie[d] th[e] case, not the specific drugs
on behalf of a putative class of private consumers and
                                                                  within that scheme.” N.J. AWP Reply 8. On Aug 16, 2010,
third-party payors who had paid for drugs manufactured,
                                                                  the court granted the motion to add Plumbers as a class
marketed, distributed and sold by the defendants. N.J. AWP
                                                                  representative. Order, Int'l Union of Operating Eng'rs, Local
Compl. ¶¶ 24, 99. The complaint alleged that, since at least
                                                                  No. 68 Welfare Fund v. Astrazeneca PLC, et al., No. MON-L
1991, the defendants deliberately inflated the AWPs for their
                                                                  3136-06 (N.J. Super. Ct. Law Div. Aug. 16, 2010), ECF No.
prescription drugs when they reported them to publications
                                                                  241-10 [hereinafter N.J. AWP Order].
like the Red Book with full knowledge that the putative class
members relied on these AWPs to determine the amount of
                                                                  Accordingly, as class representative, Plumbers alleged that
reimbursement for each drug. N.J. AWP Compl. ¶¶ 99, 108,
                                                                  “[t]he AWPs for these drugs is set by the defendants pursuant
109.
                                                                  to a standard industry formula that causes the AWPS to be
                                                                  substantially higher than the actual cost for these drugs to
On July 7, 2008, Plumbers “agreed to act as a representative
                                                                  medical providers and other suppliers.” N.J. AWP Compl. ¶
of the Class,” and “to keep reasonably informed of th[e]
                                                                  111 (emphasis added). “By deliberately inflating the AWP
action, to participate wherever possible, including discovery,
                                                                  above the actual acquisition cost to the medical provider or
to provide [ ] input and direction ..., and to make sure that
                                                                  other seller, the prescription drug manufacturer defendants
important decisions made in the case by Class Counsel [we]re
                                                                  created a ‘spread’ between what they set as the AWP and the
done with [Plumbers'] input.” July 7, 2008 Certification
                                                                  actual price paid by medical providers and other suppliers for
of Thomas J. McNulty 7 ¶ 2, ECF No. 241-8 [hereinafter            their drugs.” N.J. AWP Compl. ¶ 112. The defendants created
2008 McNulty Certification]; Per Curiam Decision at 10,           “such spreads ... as a profit to medical providers and other
Int'l Union of Operating Eng'rs, Local No. 68 Welfare             suppliers and were used to incentivize medical providers and
Fund v. Astrazeneca PLC, et al., No. A-0605-08T2, slip            other suppliers to prescribe and sell” the defendants' drugs.
op. at 10 (N.J. Super. Ct. App. Div. May 1, 2009), ECF            N.J. AWP Compl. ¶ 112. Thus, the “[d]efendants conspired
No. 241-7 (stating that Plumbers had “agreed to act as a          and agreed to accomplish this fraudulent marketing and sales
class representative and to fully participate in all aspects of   scheme ... in order to increase the sales of their drugs, profits,
litigation, including discovery” (citation omitted)). Plumbers    and market shares....” N.J. AWP Compl. ¶ 136. As a result
represented that it had reimbursed for the defendants' drugs      of the defendants' scheme, the plaintiff and putative class
listed in the complaint based on their AWPs, and “that over       members suffered harm when they paid inflated prices for
the same period alleged in the Complaint, [Plumbers] had          the defendants' drugs that were based in whole or in part on
reimbursed for numerous additional drugs, which [were]            inflated AWPs. N.J. AWP Compl. ¶ 113.
believe[d] to have also been based on those drugs' published
AWPs, including both generic and brand name drugs ...
many of which were manufactured and sold by one or
more Defendants.” May 5, 2009 Certification of Thomas J.                        2. The MDL AWP Class Action
McNulty ¶ 3, ECF No. 241-9 [hereinafter 2009 McNulty
                                                                  In 2002, the Judicial Panel on Multidistrict Litigation
Certification].
                                                                  approved of the consolidation of cases for pretrial
                                                                  proceedings into the MDL AWP Class Action before
 *4 In moving to add Plumbers as a class representative,
                                                                  Judge Patti B. Saris in the District of Massachusetts. See
IUOE affirmed that Plumbers was “making the same claims,
                                                                  Notice of Copy of MDL 1456 Conditional Transfer Order,
about the same conduct, covering the same time period, about
                                                                  In re Pharmaceutical Industry Average Wholesale Price
the same types of drugs, based upon the same New Jersey


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Litigation, MDL No. 1456, Civil Action No. 01-12257 (D.            recitals of the elements of a cause of action, supported by mere
Mass. May 31, 2002), ECF No. 97. In the MDL AWP Class              conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556
Action, private third-party payors and consumers brought           U.S. 662, 678 (2009). In order to determine the sufficiency of
a class action against brand and generic pharmaceutical            a complaint under Twombly and Iqbal, a court must engage in
drug manufacturers, alleging that the defendants intentionally     the following analysis:
inflated their AWPs that they reported to pricing compendia
like the Red Book, with full knowledge that the putative
class members relied on these AWPs to determine the amount                      First, the court must take note of
of reimbursement for each drug. MDL AWP Compl. ¶¶                               the elements a plaintiff must plead to
173-75. The plaintiffs alleged that “the AWPs for the drugs                     state a claim. Second, the court should
at issue here bore little relationship to the drug’s pricing in                 identify allegations that, because they
the marketplace. They were simply fabricated and overstated                     are no more than conclusions, are
in furtherance of Defendants' scheme to generate the profit                     not entitled to the assumption of
spread to providers ... and to increase Defendants' profits at                  truth. Finally, where there are well-
the expense of Plaintiffs and the Class members.” MDL AWP                       pleaded factual allegations, a court
Compl. ¶ 151. Furthermore, they alleged that the “Defendant                     should assume their veracity and then
generic manufacturers ... manipulate[d] their own AWPs in                       determine whether they plausibly give
order to gain or maintain a competitive advantage in the                        rise to an entitlement for relief.
market for their generic products.” MDL AWP Compl. ¶ 200.

 *5 On July 2, 2008, the district court preliminarily
                                                                   Connelly v. Steel Valley Sch. Dist., 706 F.3d 209, 212 (3d Cir.
approved a settlement of the MDL AWP Class Action.
                                                                   2013), as amended (May 10, 2013) (quoting Burtch v. Milberg
Order Granting Preliminary Approval, In re Pharmaceutical
                                                                   Factors, Inc., 662 F.3d 212, 221 (3d Cir. 2011)).
Industry Average Wholesale Price Litigation, MDL No. 1456,
Civil Action No. 01-12257, (D. Mass. July 2, 2008), ECF
                                                                   “As a general matter, a district court ruling on a motion to
No. 5426. Insurers, like Plumbers, were given until March 16,
                                                                   dismiss may not consider matters extraneous to the pleadings.
2009 to opt out of the settlement or file a settlement claim.
                                                                   However, an exception to the general rule is that a ‘document
Order Revising Certain Dates, In re Pharmaceutical Industry
                                                                   integral to or explicitly relied upon in the complaint’ may be
Average Wholesale Price Litigation, MDL No. 1456, Civil
                                                                   considered....” In re Burlington Coat Factory Sec. Litig., 114
Action No. 01-12257, (D. Mass. Jan. 7, 2009), ECF No. 5828.
                                                                   F.3d 1410, 1426 (3d Cir. 1997) (citation omitted) (quoting
In 2009, Plumbers submitted a timely claim and received an
                                                                   Shaw v. Digital Equip Corp., 82 F.3d 1194, 1220 (1st Cir.
allocation of the settlement fund. Decl. of Daniel Coggeshall
                                                                   1996)). Thus, a court may consider “the complaint, exhibits
at 123, In re Pharmaceutical Industry Average Wholesale
                                                                   attached to the complaint, matters of public record, as well as
Price Litigation, MDL No. 1456, Civil Action No. 01-12257,
                                                                   undisputedly authentic documents if the complainant’s claims
(D. Mass. July 3, 2012), ECF No. 8167-1.
                                                                   are based upon these documents.” Mayer v. Belichick, 605
                                                                   F.3d 223, 230 (3d Cir. 2010).
III. STANDARD OF REVIEW
In deciding a motion to dismiss under Rule 12(b)(6), a             “To resolve a 12(b)(6) motion, a court may properly look at
court must “accept all factual allegations as true, construe       public records, including judicial proceedings, in addition to
the complaint in the light most favorable to the plaintiff,        the allegations in the complaint.” S. Cross Overseas Agencies,
and determine whether, under any reasonable reading of the         Inc. v. Wah Kwong Shipping Grp. Ltd., 181 F.3d 410, 426 (3d
complaint, the plaintiff may be entitled to relief.” Phillips v.   Cir. 1999). “Under Federal Rule of Evidence 201, [a court]
Cty. of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008) (quoting       may take judicial notice at any stage of the proceeding of a fact
Pinker v. Roche Holdings Ltd., 292 F.3d 361, 374 n.7 (3d Cir.      not subject to reasonable dispute that is capable of accurate
2002)).                                                            and ready determination by resort to a source whose accuracy
                                                                   cannot be reasonably questioned.” Ieradi v. Mylan Labs.,
To survive dismissal, a complaint must allege facts sufficient     Inc., 230 F.3d 594, 600 n.3 (3d Cir. 2000). Accordingly, a
to “raise a right to relief above the speculative level.” Bell     district may take judicial notice at the motion to dismiss stage.
Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “Threadbare       Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322


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(2007) (stating that “sources courts ordinarily examine when
ruling on Rule 12(b)(6) motions to dismiss,” include “matters
                                                                       1. Negligent Misrepresentation Claims and Unfair
of a which a court may take judicial notice”).
                                                                     Trade Practices and Consumer Protection Law Claims

 *6 At the motion to dismiss stage, “[a] court may take             Plumbers brings claims against Generic Drug Manufacturers
judicial notice of a document filed in another court not for the
                                                                    for negligent misrepresentation. 8 Additionally, Plumbers
truth of the matters asserted in the other litigation, but rather
                                                                    brings claims against Generic Drug Manufacturers for
to establish the fact of such litigation and related filings.”
                                                                    deceptive conduct under the catch-all provision of the
Glob. Network Commc'ns, Inc. v. City of New York, 458 F.3d
                                                                    Unfair Trade Practices and Consumer Protection Law
150, 157 (2d Cir. 2006) (quoting Int'l Star Class Yacht Racing
Ass'n v. Tommy Hilfiger U.S.A., Inc., 146 F.3d 66, 70 (2d Cir.      (“UTPCPL”), 73 Pa. Stat. Ann. § 201-2(4)(xxi). 9 Generic
1998)); see also Benak ex rel. All. Premier Growth Fund v.          Drug Manufacturers move to dismiss these claims on the basis
All. Capital Mgmt. L.P., 435 F.3d 396, 401 n.15 (3d Cir. 2006)      that Plumbers fails to adequately and plausibly plead that
(concluding that the district court did not abuse its discretion    it justifiably relied on Generic Drug Manufacturers' inflated
when it took judicial notice of newspaper articles to grant a       AWPs and that this reliance caused it actual harm. Plumbers
motion to dismiss on statute of limitations grounds because         concedes that reliance is required to establish a claim for
the articles “serve[d] only to indicate what was in the public      negligent misrepresentation, but contends that it remains an
realm at the time, not whether the contents of those articles       open question as to whether reliance is a required element
were in fact true.”); Lum v. Bank of Am., 361 F.3d 217, 221 n.3     for deceptive conduct under the catch-all provision of the
(3d Cir. 2004), (“[A] prior judicial opinion constitutes a public   UTPCPL. Additionally, Plumbers asserts that it adequately
record of which a court may take judicial notice, [but] it may      and plausibly pleads justifiable reliance.
do so on a motion to dismiss only to establish the existence
of the opinion, not for the truth of the facts asserted in the      In order to establish a claim for negligent misrepresentation,
opinion.”), abrogated in part on other grounds by Twombly v.        a plaintiff must present proof of: “(1) a misrepresentation
Bell Atl. Corp., 550 U.S. 544 (2007). “Dismissal under Fed.         of a material fact; (2) made under circumstances in which
R. Civ. P. 12(b)(6) is appropriate when a defendant raises ...      the misrepresenter ought to have known its falsity; (3) with
[a statutory bar] as an affirmative defense and it is clear from    an intent to induce another to act on it; and; (4) which
the face of the complaint, and matters of which the court may       results in injury to a party acting in justifiable reliance
take judicial notice, that the plaintiff's claims are barred as     on the misrepresentation.” Bortz v. Noon, 729 A.2d 555,
a matter of law.” Staehr v. Hartford Fin. Servs. Grp., Inc.,        561 (Pa. 1999). Thus, a successful claim for negligent
547 F.3d 406, 425 (2d Cir. 2008) (quoting Conopco, Inc. v.          misrepresentation requires proof of justifiable reliance.
Roll Int'l, 231 F.3d 82, 86 (2d Cir. 2000)); see also O'Boyle v.
Braverman, 337 Fed.Appx. 162, 164 (3d Cir. 2009) (same);             *7 The UTPCPL is Pennsylvania’s consumer protection law
Benak, 435 F.3d at 401-03 (dismissing suit on statute of            that prohibits “[u]nfair methods of competition and unfair
limitations grounds after taking judicial notice of newspaper       or deceptive acts or practices in the conduct of any trade
articles that contributed to the court’s determination that the     or commerce.” 73 Pa. Stat. Ann. § 201-3. “The statute
plaintiffs were on inquiry notice of their claims more than one     creates a private right of action in persons upon whom
year prior to filing suit).                                         unfair methods of competition and unfair or deceptive acts
                                                                    or practices are employed and who as a result, sustain an
                                                                    ascertainable loss.” Toy v. Metro. Life Ins. Co., 928 A.2d 186,
IV. DISCUSSION                                                      190 n.4 (Pa. 2007) (citing 73 Pa. Stat. Ann. § 201-9.2). “The
Generic Drug Manufacturers move to dismiss all of Plumbers'         Supreme Court of Pennsylvania has consistently interpreted
Pennsylvania Claims on the basis that Plumbers fails to             the Consumer Protection Law’s private-plaintiff standing
adequately and plausibly plead these claims. Additionally,          provision’s causation requirement to demand a showing of
Generic Drug Manufacturers move to dismiss Plumbers'                justifiable reliance, not simply a causal connection between
Non-Pennsylvania Claims on the basis that Plumbers lacks            the misrepresentation and the harm.” 10 Hunt v. U.S. Tobacco
standing to assert these claims.                                    Co., 538 F.3d 217, 222 (3d Cir. 2008), as amended (Nov.
                                                                    6, 2008). Given the Pennsylvania courts' repeated holdings
                                                                    that a plaintiff seeking to bring a private cause of action
  A. Pennsylvania Claims


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under the UTPCPL must show justifiable reliance and harm           is obvious.” Toy, 928 A.2d at 207; see also Emery v. Third
suffered as a result, the Third Circuit has explicitly held        Nat. Bank of Pittsburgh, 162 A. 281, 284 (Pa. 1932) (“If
“that private plaintiffs alleging deceptive conduct under the      a man knows the truth about a representation, he is neither
statute’s post–1996 catchall provision must allege justifiable     deceived nor defrauded, and any loss he may sustain is in
reliance.” Hunt, 538 F.3d at 224; see also Kirwin v. Sussman       effect self-inflicted.”). This is because “knowledge negates
Auto., 149 A.3d 333, 336-37 (Pa. Super. 2016) (holding             the affirmative element of reliance.” City of Philadelphia
that the post-1996 catch-all provision of the UTPCPL               v. Lead Indus. Ass'n, No. 90-7064, 1992 WL 98482, at *3
requires a showing of justifiable reliance); Kern v. Lehigh        n.4 (E.D. Pa. Apr. 23, 1992). In addition to believing a
Valley Hosp., Inc., 108 A.3d 1281, 1287 (Pa. Super. 2015)          misrepresentation, a plaintiff must show that his reliance on
(“[J]ustifiable reliance is an element of all private claims       the misrepresentation caused the harm—a requirement more
under the UTPCPL.”). Thus, in order to establish a claim           stringent than simply a causal connection between the reliance
for deceptive conduct under the catchall provision of the          and the misrepresentation:
UTPCPL, a plaintiff must prove: (1) “a deceptive act, that is
conduct that is likely to deceive a consumer acting reasonably
under similar circumstances”; (2) “justifiable reliance, in                     *8 A mere causal connection can
other words that [the plaintiff] justifiably bought the product                be established by, for instance, proof
in the first place (or engaged in some other detrimental                       that a misrepresentation inflated a
activity) because of the [defendant’s] misrepresentation or                    product’s price, thereby injuring every
deceptive conduct”; and (3) “that this justifiable reliance                    purchaser because he paid more than
caused ascertainable loss.” Seldon v. Home Loan Servs., Inc.,                  he would have paid in the absence
647 F. Supp. 2d 451, 470 (E.D. Pa. 2009) (internal quotation                   of the misrepresentation. A justifiable-
marks omitted); see Hunt, 538 F.3d at 221-27.                                  reliance requirement, by contrast,
                                                                               requires the plaintiff to go further
Accordingly, in order to succeed on either a negligent                         —he must show that he justifiably
misrepresentation claim or a claim for deceptive conduct                       bought the product in the first
under the catch-all provision of the UTPCPL, Plumbers                          place (or engaged in some other
must establish that it justifiably relied on Generic Drug                      detrimental activity) because of the
Manufacturers' inflated AWPs and that this reliance caused                     misrepresentation.
its harm. See Hunt, 538 F.3d at 224. Justifiable reliance is
typically a question of fact. Toy, 928 A.2d at 208. However,
a court may determine, even at the motion to dismiss stage,        Hunt, 538 F.3d at 222 n.4 (citing Weinberg v. Sun Co., 777
that a plaintiff’s allegations of justifiable reliance fail as a   A.2d 442, 445-46 (Pa. 2001)).
matter of law. Hunt, 538 F.3d at 227 (determining at the
motion to dismiss stage that the plaintiff’s claim for deceptive   As set forth in the Amended Complaint, Plumbers' theory of
conduct under the catch-all provision of the UTPCPL was            the case is that Generic Drug Manufacturers misrepresented
inadequate because the plaintiff failed to plausibly plead         that the AWPs for their drugs were the actual average
justifiable reliance).                                             wholesale prices, knowing that Plumbers, and other third-
                                                                   party payors, used the AWPs as a key component in their
“To be justifiable, reliance upon the representation of another    formula for determining the amount to pay Providers. Thus,
must be reasonable.” Porreco v. Porreco, 811 A.2d 566, 571         Plumbers claims are predicated on the contention that it
(Pa. 2002). “Whether reliance on an alleged misrepresentation      relied on Generic Drug Manufacturer’s misrepresentation that
is justified depends on whether the recipient knew or should       the AWPs were the actual average wholesale prices that
have known that the information supplied was false.” Id.           Providers paid for the drugs, and suffered harm as a result
(quoting Fort Washington Res., Inc. v. Tannen, 858 F. Supp.        because it overpaid Providers using a reimbursement formula
455, 460 (E.D. Pa. 1994)). “[T]he recipient of an allegedly        crucially based on the inflated AWPs. Plumbers argues
fraudulent misrepresentation is under no duty to investigate       that it adequately pleads both negligent misrepresentation
its falsity in order to justifiably rely, but ... he is not        and deceptive conduct under the catch-all provision of the
justified in relying upon the truth of an allegedly fraudulent     UTPCPL.
misrepresentation if he knows it to be false or if its falsity



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Despite Plumbers contention, however, Plumbers never               which [were] believe[d] to have also been based on those
alleges in its Amended Complaint that it ever believed that        drugs' published AWPs, including both generic and brand
Generic Drug Manufacturers' AWPs were the actual average           name drugs ... many of which were manufactured and sold
wholesale prices of their drugs. This is not surprising. Given     by one or more Defendants.” 2009 McNulty Certification ¶
Plumbers participation in the prior AWP Class Actions,             3. Thus, Plumbers explicitly acknowledged that it believed
Plumbers could not credibly make such an allegation. Put           that the published AWPs for both generic and brand name
plainly, this is because Plumbers already knew, when it agreed     drugs were inaccurate, and the scheme to inflate the AWPs
in 2008 to act as a class representative in the New Jersey AWP     was more widespread than the drugs involved in the case. See
Class Action, that the AWPs reported by drug manufacturers         N.J. AWP Reply 8 (asserting that “[i]t [wa]s the conduct of
were not the actual average wholesale prices of the drugs.         Defendants in implementing a scheme to inflate AWPs for
As Plumbers accurately alleged in the Complaint for the            their drugs that typifie[d] th[e] case, not the specific drugs
New Jersey AWP Class Action, “[t]he AWPs for these drugs           within that scheme”).
is set by the defendant[ ] [drug manufacturers] pursuant to
a standard industry formula that causes the AWPS to be              *9 Given the striking similarities between Plumbers'
substantially higher than the actual cost for these drugs to       Amended Complaint in this action and the complaints and
medical providers and other suppliers.” N.J. AWP Compl.            representations made in the AWP Class Actions, Plumbers
¶ 111 (emphasis). Although Plumbers never alleges that it          cannot credibly argue that it believed that Generic Drug
believed the AWPs were the actual average wholesale price of       Manufacturers' AWPs were the actual average wholesale
the drugs, it does allege that it was “unaware of the artificial   prices of their drugs at the time it filed this action.
inflation of the AWP.” Am. Compl. ¶ 599. This allegation,          Because Plumbers knew that the AWPs were not the actual
however, directly conflicts with Plumbers understanding of         average wholesale prices of Generic Drug Manufacturers'
AWPs as early as 2008—that it was standard industry practice       drugs, Plumbers cannot plausibly claim to have justifiably
to inflate them above their actual average wholesale prices.       relied on the misrepresentation that they were the actual
                                                                   average wholesale prices because “knowledge negates the
Plumbers overall participation in the prior AWP Class Actions      affirmative element of reliance.” Lead Indus., 1992 WL
clearly demonstrates that Plumbers knew the AWPs were not          98482 at *3 n.4 (emphasis omitted). Put another way, “the
the actual average wholesale prices of the drugs. All three        recipient of an allegedly fraudulent misrepresentation ... is not
actions were brought against defendant drug manufacturers          justified in relying upon the truth of an allegedly fraudulent
who allegedly engaged in the following unlawful scheme:            misrepresentation if he knows it to be false or if its falsity
                                                                   is obvious.” Toy, 928 A.2d at 207. Plumbers both knew that
  a. The artificial inflation of the AWPs for their drugs;         the AWPs were not the actual average wholesale prices for
  b. The creation of spreads between the set AWPs and the          Generic Manufacturers' drugs and the falsity was obvious. 11
     actual price paid by medical providers;                       The absence of a single pleading in Plumbers' Amended
                                                                   Complaint that it believed that the AWPs of the drugs were
  c. The provision of free goods to medical providers, which       the actual average wholesale prices that Providers paid for
     were not accounted for in the reported AWPs;                  these drugs further confirms that Plumbers knew the falsity
                                                                   of Generic Drug Manufacturers' misrepresentation.
  d. The provision of other financial inducements to medical
     providers that were not accounted for in the reported         Accordingly, Plumbers inadequately and implausibly pleads
     AWPs; and                                                     justifiable reliance. It fails to allege that it believed Generic
                                                                   Drug Manufacturers' misrepresentation, a belief it cannot now
  e. The concealment of the inflation of the AWPs.
                                                                   plausibly claim to have possessed because it knew from the
Am. Compl. ¶ 196; N.J. AWP Compl. ¶¶ 15, 38; MDL AWP               prior AWP Class Actions, that the AWPs were not the actual
Compl. ¶¶ 174, 177, 180, 204. In the AWP Class Actions,            average wholesale prices of any drugs. Therefore, I will grant
the plaintiffs recognized that the AWPs were not the actual        Generic Drug Manufacturers' motions to dismiss Plumbers'
average wholesale prices of any drugs. Moreover, in the            negligent misrepresentation and UTPCPL claims. 12
New Jersey AWP Class Action, Plumbers represented to the
court “that over the same period alleged in the Complaint,
[Plumbers] had reimbursed for numerous additional drugs,



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                                                                   UTPCPL claims. Plumbers never responds to Generic Drug
                                                                   Manufacturers' contention that its unjust enrichment claims
                2. Unjust Enrichment Claim
                                                                   are based in tort. Plumbers' failure to respond to this argument
 *10 Generic Drug Manufacturers contend that Plumbers              is a concession that its unjust enrichment claims arise in the
cannot proceed with unjust enrichment claims absent the            tort setting. An apt acknowledgement, given that claims for
                                                                   negligent misrepresentation and deceptive conduct under the
survival of a traditional tort claim. 13 Plumbers asserts that a
                                                                   catch-all provision of the UTPCPL are both characterized
plaintiff may proceed with an unjust enrichment claim absent
                                                                   as torts. See Bilt-Rite Contractors, Inc. v. The Architectural
an underlying tort claim.
                                                                   Studio, 866 A.2d 270, 280 (Pa. 2005) (exploring “general
                                                                   principles of tort law” to examine the “common law tort
To establish a claim for unjust enrichment under Pennsylvania
                                                                   of negligent misrepresentation”); Christopher v. First Mut.
law, a plaintiff must demonstrate that: (1) he conferred a
                                                                   Corp., No. 05-0115, 2008 WL 1815300, at *11 (E.D. Pa. Apr.
benefit on the defendant; (2) the defendant appreciated the
                                                                   22, 2008) (explaining that under the catch-all provision of
benefit; and (3) it would be inequitable for the defendant to
                                                                   the UTPCPL, “[a] deceptive act is ‘the act of intentionally
retain the benefit without paying for it. Mitchell v. Moore, 729
                                                                   giving a false impression’ or ‘a tort arising from a false
A.2d 1200, 1203 (Pa. Super. Ct. 1999). Under Pennsylvania
                                                                   representation made knowingly or recklessly with the intent
law, there are two categories of unjust enrichment claims:
                                                                   that another person should detrimentally rely on it’ ”) (quoting
(1) In the contract setting, an unjust enrichment claim arises
                                                                   In re Patterson, 263 B.R. 82, 94 (Bankr. E.D. Pa. 2001)); see
“when plaintiff seeks to recover from defendant for a benefit
                                                                   also Duffy v. Lawyers Title Ins. Co., 972 F. Supp. 2d 683, 689
conferred under an unconsummated or void contract”; (2)
                                                                   n.9 (E.D. Pa. 2013) (same); Wilson v. Parisi, 549 F. Supp. 2d
“In the tort setting, an unjust enrichment claim is essentially
                                                                   637, 666 (M.D. Pa. 2008) (same).
another way of stating a traditional tort claim (i.e., if
defendant is permitted to keep the benefit of his tortious
                                                                    *11 Because Plumbers' negligent misrepresentation and
conduct, he will be unjustly enriched).” Steamfitters Local
                                                                   UTPCPL claims will be dismissed, Plumbers no longer has
Union No. 420 Welfare Fund v. Philip Morris, Inc., 171 F.3d
                                                                   a viable underlying tort claim. Plumbers cannot proceed
912, 936 (3d Cir. 1999). “As to the first theory, an unjust
                                                                   with standalone unjust enrichment claims. Accordingly, I
enrichment claim based on a theory of quasi-contract may be
                                                                   will grant Generic Drug Manufacturers' motion to dismiss
pled as an alternative to a breach of contract claim.” Whitaker
                                                                   Plumbers' unjust enrichment claims.
v. Herr Foods, Inc., 198 F. Supp. 3d 476, 493 (E.D. Pa. 2016)
(citing Lugo v. Farmers Pride, Inc., 967 A.2d 963, 970 n. 5
(Super. Ct. Pa. 2009)). “With respect to the second theory,
an unjust enrichment claim may be pled as a companion, not                          3. Civil Conspiracy Claim
an alternative, to a claim of unlawful or improper conduct as
defined by law—e.g., a tort claim.” Id.                            Generic Drug Manufacturers contend that Plumbers' civil
                                                                   conspiracy claims must be dismissed due to the dismissal of
In the tort setting, there is “no justification for permitting     its other causes of action. 14
plaintiffs to proceed on their unjust enrichment claim once
[it is] determined that the District Court properly dismissed      To prove civil conspiracy under Pennsylvania law, a plaintiff
the traditional tort claims.” Steamfitters, 171 F.3d at 937;       must establish the following elements: “(1) a combination of
Allegheny Gen. Hosp. v. Philip Morris, Inc., 228 F.3d 429,         two or more persons acting with a common purpose to do
447 (3d Cir. 2000) (stating that the “proper reading of            an unlawful act or to do a lawful act by unlawful means or
Steamfitters” is that an unjust enrichment claim based in          for an unlawful purpose; (2) an overt act done in pursuance
tort must be dismissed when the traditional tort claims are        of the common purpose; and (3) actual legal damage.” Gen.
dismissed). “[A]n unjust enrichment claim based on wrongful        Refractories Co. v. Fireman’s Fund Ins. Co., 337 F.3d 297,
conduct cannot stand alone as a substitute for the failed tort     313 (3d Cir. 2003) (quoting Strickland v. Univ. of Scranton,
claim.” Whitaker, 198 F. Supp. 3d at 493.                          700 A.2d 979, 987-88 (Pa. Super. Ct. 1997)). Additionally,
                                                                   “absent a civil cause of action for a particular act, there can
Plumbers' unjust enrichment claims focus on the same               be no cause of action for civil conspiracy to commit that
negligent misrepresentations and deceptive conduct that            act.” Pelagatti v. Cohen, 536 A.2d 1337, 1342 (Pa. Super. Ct.
form the basis of its negligent misrepresentation and              1987); see also Forcine Concrete & Constr. Co. v. Manning


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Equip. Sales & Servs., No. 08-2926, 2010 WL 2470992, at           reside and purchased the generic drugs at issue.” Pl.'s Opp'n
*5 (E.D. Pa. June 14, 2010) (same); McKeeman v. Corestates        44.
Bank, N.A., 751 A.2d 655, 660 (Pa. Super. Ct. 2000) (same).
                                                                   *12 The doctrine of standing is “a constitutional principle
Because Plumbers' underlying Pennsylvania state law claims        that prevents courts of law from undertaking tasks assigned
will be dismissed, Plumbers' civil conspiracy claims are not      to the political branches.” Lewis v. Casey, 518 U.S. 343, 349
viable. Therefore, I will grant Generic Drug Manufacturers'       (1996). “It is the role of courts to provide relief to claimants,
motion to dismiss Plumbers' civil conspiracy claims.              in individual or class actions, who have suffered, or will
                                                                  imminently suffer, actual harm; it is not the role of courts,
                                                                  but that of the political branches, to shape the institutions of
                                                                  government in such fashion as to comply with the laws and
               4. Aiding and Abetting Claim
                                                                  the Constitution.” Id.
Generic Drug Manufacturers contend that Plumbers' aiding
and abetting claims must be dismissed because of the              Constitutional standing under Article III requires the
dismissal of its other causes of action.                          following elements:


Pennsylvania recognizes a claim for civil liability for aiding
and abetting a tort pursuant to the Restatement (Second) of                    (1) an injury-in-fact, which is an
Torts § 876. Skipworth by Williams v. Lead Indus. Ass'n,                       invasion of a legally protected interest
Inc., 690 A.2d 169, 174-75 (1997). “Liability for aiding and                   that is (a) concrete and particularized,
abetting requires proof of three elements: underlying tortious                 and (b) actual or imminent, not
conduct, knowledge, and substantial assistance.” Jenkins v.                    conjectural or hypothetical; (2) a
Williams, No. 02-331, 2008 WL 1987268, at *14 (D. Del.                         causal connection between the injury
May 7, 2008); see also Restatement (Second) of Torts §                         and the conduct complained of; and (3)
876. “[T]here can be no claim for aiding and abetting unless                   that it must be likely, as opposed to
plaintiff has also alleged a viable claim for the underlying                   merely speculative, that the injury will
tort.” Austin v. Hill, No. 11-2847, 2014 WL 1386338, at *14                    be redressed by a favorable decision.
(E.D. Pa. Apr. 9, 2014); see also First United Bank & Tr. v.
PNC Fin. Servs. Grp., Inc., 667 F. Supp. 2d 443, 457 (M.D.
Pa. 2009) (dismissing aiding and abetting claim for failure to    Winer Family Tr. v. Queen, 503 F.3d 319, 325 (3d Cir. 2007).
allege an underlying tort claim).                                 In addition to the “immutable requirements of Article III,”
                                                                  the judiciary also adheres to the prudential principle that
Because Plumbers' underlying tort claims will be dismissed,       “the Plaintiff generally must assert his own legal rights and
Plumbers' aiding and abetting claims are not viable.              interests, and cannot rest his claim to relief on the legal
Therefore, I will grant Generic Drug Manufacturers' motion        rights or interests of third parties.” Miller v. Nissan Motor
to dismiss Plumbers' aiding and abetting claims.                  Acceptance Corp., 362 F.3d 209, 221 (3d Cir. 2004) (quoting
                                                                  Trump Hotels & Casino Resorts, Inc. v. Mirage Resorts, Inc.,
                                                                  140 F.3d 478, 485 (3d Cir. 1998)). “That a suit may be a
   B. Non-Pennsylvania Claims
                                                                  class action ... adds nothing to the question of standing, for
Plumbers brings claims against Generic Drug Manufacturers
                                                                  even named plaintiffs who represent a class must allege and
for violations of the consumer protection laws of forty-
                                                                  show that they personally have been injured, not that injury
eight additional states and two territories. Generic Drug
                                                                  has been suffered by other, unidentified members of the class
Manufacturers contend that Plumbers lacks Article III
                                                                  to which they belong and which they purport to represent.”
standing to bring these claims. Without any legal reasoning
                                                                  Lewis, 518 U.S. at 357 (quoting Simon v. Eastern Ky. Welfare
or citation to legal authority, Plumbers “respectfully suggests
                                                                  Rights Organization, 426 U.S. 26, 40 n.20 (1976)). “The
that the Court defer ruling on the Plaintiff’s claims under
                                                                  initial inquiry ... is whether the lead plaintiff individually
any state law other than Pennsylvania.” Pl.'s Opp'n 45.
                                                                  has standing, not whether or not other class members have
Additionally, Plumbers asserts that “it has the right to bring
                                                                  standing.” Winer, 503 F.3d at 326. “A named plaintiff in
claims under the laws of any state where its [Plan] [M]embers
                                                                  a class action who cannot establish the requisite case or


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controversy between himself and the defendants simply
cannot seek relief for anyone—not for himself, and not for          Wellbutrin, 260 F.R.D. at 155. The Court will analyze
any other member of the class.” Griffin v. Dugger, 823 F.2d         Plumbers' standing to bring the Non-Pennsylvania Claims at
1476, 1483 (11th Cir. 1987) (citing O'Shea v. Littleton, 414        this juncture in the litigation because deferral of the standing
U.S. 488, 494 (1974)).                                              analysis would be imprudent.


“[A] plaintiff who raises multiple causes of action ‘must           There is no dispute that Plumbers has standing to bring
demonstrate standing for each claim he seeks to press.’             its Pennsylvania Claims because Plumbers resides in
” In re Schering Plough Corp. Intron/Temodar Consumer               Pennsylvania and alleges that it suffered an injury when it paid
Class Action, 678 F.3d 235, 245 (3d Cir. 2012) (quoting             too much for Generic Drug Manufacturers' drugs based on
DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006)).           their inflated AWPs. See, e.g. Krahling, 44 F. Supp. 3d at 602
“[E]ach claim must be analyzed separately, and a claim cannot       (holding that the named plaintiffs have standing in the states
be asserted on behalf of a class unless at least one named          where they reside). Generic Drug Manufacturers contend,
plaintiff has suffered the injury that gives rise to that claim.”   however, that Plumbers does not have standing to assert
Griffin, 823 F.2d at 1483. “A named plaintiff whose injuries        any Non-Pennsylvania Claims because it has not suffered an
have no causal relation to, or cannot be redressed by, the legal    injury in any state other than Pennsylvania.
basis for a claim does not have standing to assert that claim.”
In re Wellbutrin XL Antitrust Litig., 260 F.R.D. 143, 152 (E.D.     Courts in this district have repeatedly held, in cases in which
Pa. 2009).                                                          named plaintiffs are benefit plans who bring suit regarding
                                                                    their reimbursement of members' purchase of drugs, that
Although Plumbers requests that the Court defer ruling on the       plaintiffs lack standing, because they suffered no injury, to
issue of standing for Plumber’s Non-Pennsylvania Claims,            raise state law claims for states where they are not located
standing is a “threshold inquiry” that should not be deferred.      and where they did not purchase any drugs or reimburse
In re Suboxone (Buprenorphine Hydrochloride & Naloxone)             their members for the purchase of any drugs. See, e.g.,
Antitrust Litig., 64 F. Supp. 3d 665, 693-94 (E.D. Pa. 2014);       Suboxone, 64 F. Supp. 3d at 692-94; Niaspan, 42 F. Supp.
see also In re Niaspan Antitrust Litig., 42 F. Supp. 3d 735, 758    3d at 758-59; Wellbutrin, 260 F.R.D. at 157-58. Conversely,
n.20 (E.D. Pa. 2014) (deciding standing of named plaintiffs at      “[c]ase law supports the position that Plaintiffs suffered injury
the motion to dismiss stage after declining to defer standing       and have standing in states where they purchased a drug
analysis); U.S. ex rel. Krahling v. Merck & Co., 44 F. Supp.        or reimbursed their members for purchases of a drug.” In
3d 581, 601 (E.D. Pa. 2014) (same); Wellbutrin, 260 F.R.D.          re Flonase Antitrust Litig., 692 F. Supp. 2d 524, 533 (E.D.
at 155 (same). To defer ruling on standing would create the         Pa. 2010) (citing Wellbutrin, 260 F.R.D. at 156-57); see also
exact problem that the standing inquiry seeks to avoid:             Niaspan, 42 F. Supp. 3d at 758. In accordance with these
                                                                    holdings, Plumbers only asserts that “it has the right to bring
                                                                    claims under the laws of any state where its [Plan] [M]embers
                                                                    reside and purchased the generic drugs at issue.” Pl.'s Opp'n
              *13 [It] would allow named plaintiffs
                                                                    44.
             in a proposed class action, with
             no injuries in relation to the laws
                                                                    In Count III, Plumbers asserts claims under the consumer
             of certain states referenced in their
                                                                    protection laws of thirty-seven jurisdictions to which
             complaint, to embark on lengthy class
                                                                    Plumbers pleads no connection and in which Plumbers alleges
             discovery with respect to injuries in
             potentially every state in the Union.                  no injuries. 15 In its brief, Plumbers makes no attempt to
             At the conclusion of that discovery,                   argue that it has standing to bring claims under any of the
             the plaintiffs would apply for class                   consumer protection laws of these thirty-seven jurisdictions.
             certification, proposing to represent                  It is incontrovertible that Plumbers lacks standing to bring
             the claims of parties whose injuries                   Count III because “[t]he amended complaint ... provides no
             and modes of redress they would not                    facts on which to find a connection between an alleged injury
             share.                                                 and some wrongful conduct that would implicate the laws of
                                                                    those states in which [the] plaintiff, or any of [its] reimbursed
                                                                    members, resides.” Wellbutrin, 260 F.R.D. at 157.



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                                                                  resides in Pennsylvania and has Plan Members who reside
                                                                  in Pennsylvania, Plumbers lacks standing to raise claims
In Count II, Plumbers asserts claims under the consumer
                                                                  under the consumer protection laws of any state other than
protection laws of the DVHCC Members. DVHCC resides
                                                                  Pennsylvania, including the consumer protection laws of the
in Pennsylvania and DVHCC Members reside in California,
                                                                  DVHCC. Therefore, I will grant Generic Drug Manufacturers'
the District of Columbia, Delaware, Indiana, Kentucky,
                                                                  motions to dismiss the Non-Pennsylvania Claims.
Maryland, Massachusetts, Michigan, New Jersey, New York,
Ohio, Wisconsin, and West Virginia. Am. Compl. ¶ 468.
Therefore, Plumbers brings claims for violations of the           V. CONCLUSION
consumer protection laws of each of these states. Plumbers         *14 For the reasons set forth above, I will grant Generic
contends that, in accordance with case law in this district, it
                                                                  Drug Manufacturers' motions to dismiss. 17
has standing to bring these state law claims because DVHCC
Members reside in these states. DVHCC, however, is not a
party to this lawsuit, and the Amended Complaint is silent        All Citations
as to any relationship between Plumbers and DVHCC. 16
Because the Amended Complaint only alleges that Plumbers          Not Reported in Fed. Supp., 2017 WL 4235773




                                                          Footnotes


1      I exercise subject matter jurisdiction over this putative class action pursuant to 28 U.S.C. § 1332, as amended
       by the Class Action Fairness Act (“CAFA”). CAFA grants the Court original jurisdiction over this putative
       class action because (1) it involves a proposed plaintiff class of 100 or more members; (2) the amount in
       controversy exceeds $5,000,000 in the aggregate, exclusive of interest and costs; and (3) the parties are
       minimally diverse—any member of the proposed class is a citizen of a State different from any defendant.
       28 U.S.C. §§ 1332(d)(2), (5)(B).

2      All facts in this section are taken from the Amended Complaint.

3      Plumbers resides in Pennsylvania and it has Plan Members who reside in Pennsylvania. Am. Compl. ¶ 154.

4      While is unclear from the Amended Complaint exactly who determines the amount for reimbursement and
       exactly how the AWP figures into the reimbursement formula, this lack of clarity does not impact the analysis.

5      The electronic court filing numbers listed after each MDL AWP Class Action filing refer to documents available
       on the docket for Civil Action No. 01-12557 in the United States District Court District of Massachusetts.

6      The electronic court filing numbers listed after each New Jersey AWP Class Action filing refer to documents
       available on the docket for this action.

7      Thomas J. McNulty was the Fund Administrator for Plumbers.

8      Although Plumbers brings claims for negligent misrepresentation and fraud in Count IV of the Amended
       Complaint, it has now voluntarily withdrawn its fraud claim. Pl.'s Opp'n 39.

9      Although Plumbers alleges several types of violations of the UTPCPL in Count I of the Amended Complaint,
       it has now voluntarily withdrawn all UTPCPL claims other than its deceptive conduct claim under the catch-
       all provision. Pl.'s Opp'n 39 n.19.

10     The private-plaintiff standing provision provides:




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         Any person who purchases or leases goods or services primarily for personal, family or household purposes
         and thereby suffers any ascertainable loss of money or property, real or personal, as a result of the use or
         employment by any person of a method, act or practice declared unlawful by section 3 of this act, may bring
         a private action to recover actual damages or one hundred dollars ($100), whichever is greater. The court
         may, in its discretion, award up to three times the actual damages sustained, but not less than one hundred
         dollars ($100), and may provide such additional relief as it deems necessary or proper. The court may
         award to the plaintiff, in addition to other relief provided in this section, costs and reasonable attorney fees.

      73 Pa. Stat. Ann. § 201-9.2(a) (emphasis added).

11    In addition to the prior AWP Class Actions, the public record in Pennsylvania supports that Plumbers knew
      that the AWPs of Generic Drug Manufacturers' drugs were not based on the actual average wholesale prices
      that Providers paid for these drugs. In 2005, the Pennsylvania Department of Public Welfare changed the
      way the AWP was used to reimburse generic drugs in recognition of the fact, as noted by the Congressional
      Budget office in its December 2004 report on Medicaid FFS, that “the average wholesale price (AWP) of a
      drug ... (like the sticker price on a car) is a published price that few purchasers actually pay.” 35 Pa. Bull.
      4727 (Aug. 20, 2005) (internal quotation marks omitted).

12    By March 16, 2009, after Plumbers had already agreed to act as a class representative in the New Jersey
      AWP Class Action and filed a settlement claim in the MDL AWP Class Action, Plumbers knew that the
      AWPs of drugs were not the actual average wholesale prices that Providers paid. For Plumbers' negligent
      misrepresentation and UTPCPL claims for any payments made after this date, it cannot succeed because it
      has not adequately alleged that it believed Generic Drug Manufacturers' misrepresentation, but also because
      it cannot plausibly allege that it believed the misrepresentation.

      For Plumbers' negligent misrepresentation and UTPCPL claims made on or before March 16, 2009, these
      claims will be dismissed because Plumbers has not adequately alleged that it believed that the AWPs of
      Generic Drug Manufacturer’s drugs were the actual average wholesale prices Providers paid. Additionally,
      these claims and all other Pennsylvania Claims for payments made before December 30, 2009 will be
      dismissed because they are barred by the applicable statutes of limitations.

      Plumbers' Complaint was filed on December 30, 2015. The longest statute of limitations is six years for
      Plumbers' Pennsylvania UTPCPL claims. This means that a claim may only be timely if it occurred on or
      after December 30, 2009, unless an exception to the applicable statute of limitations applies. Plumbers
      contends that three exceptions to the statutes of limitations apply: the discovery rule, the doctrine of fraudulent
      concealment, and the continuing violations doctrine.

      For any of these exceptions to apply, a plaintiff must exercise reasonable diligence. Fine v. Checcio, 870
      A.2d 850, 861 (Pa. 2005) (“[T]he standard of reasonable diligence, which is applied to the running of the
      statute of limitations when tolled under the discovery rule, also should apply when tolling takes place under
      the doctrine of fraudulent concealment.”); Cowell v. Palmer Twp., 263 F.3d 286, 295 (3d Cir. 2001) (“[T]he
      continuing violations doctrine should not provide a means for relieving plaintiffs from their duty to exercise
      reasonable diligence in pursuing their claims.”).

      The Pennsylvania Supreme Court has explained: “There are [very] few facts which diligence cannot discover,
      but there must be some reason to awaken inquiry and direct diligence in the channel in which it would be
      successful. This is what is meant by reasonable diligence.” Fine, 870 A.2d at 858 (quoting Crouse v. Cyclops
      Indus., 745 A.2d 606, 611 (Pa. 2000)). “Put another way, ‘[t]he question in any given case is not, what did the
      plaintiff know of the injury done him? [B]ut, what might he have known, by the use of the means of information




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      within his reach, with the vigilance the law requires of him?’ ” Id. (quoting Scranton Gas & Water Co. v.
      Lackawanna Iron & Coal Co., 31 A. 484, 485 (Pa. 1895)).

      Because of the prior AWP Class Actions, Plumbers knew by March 16, 2009 that the AWPs of drugs were
      not the actual average wholesale prices that Providers paid. Therefore, it cannot be found to have exercised
      reasonable diligence in its efforts to learn its injury and cause. It had six years at most from the date it learned
      the true nature of AWPs to raise any of these claims and it did not do so. Plumbers did not file its Complaint
      until December 30, 2015. Thus, any Pennsylvania Claims for payments made before December 30, 2009
      are time-barred.

13    In the alternative, Generic Drug Manufacturers argue that Plumbers cannot succeed on its unjust enrichment
      claims because it does not adequately plead the elements of unjust enrichment. Additionally, Generic Drug
      Manufacturers argue that the voluntary payment doctrine bars recovery. There is no need to address these
      arguments because, as will be discussed below, Plumbers cannot succeed on this claim absent a viable
      underlying tort claim.

14    In the alternative, Generic Drug Manufacturers argue that Plumbers insufficiently pleads its civil conspiracy
      claims. There is no need to address this argument because, as will be discussed below, Plumbers cannot
      succeed on this claim absent an underlying cause of action.

15    The thirty-seven jurisdictions are: Alabama, Alaska, Arizona, Arkansas, Colorado, Connecticut, Florida,
      Georgia, Hawaii, Idaho, Illinois, Iowa, Kansas, Louisiana, Maine, Minnesota, Mississippi, Missouri, Montana,
      Nebraska, New Hampshire, New Mexico, North Carolina, North Dakota, Oklahoma, Oregon, Puerto Rico,
      Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Utah, Vermont, Virginia, Washington, and
      Wyoming.

16    The Amended Complaint provides no information about DVHCC beyond the states in which DVHCC and
      DVHCC Members reside. It does not even explain the DVHCC acronym. The parties appear to agree that
      DVHCC stands for the Delaware Valley Health Care Coalition. Although Plumbers asserts in its brief that it
      is a member of DVHCC, this assertion does not appear in its Amended Complaint.

17    In order to avoid dismissal, Plumbers requests leave to amend its Amended Complaint. “[I]f a complaint
      is subject to a Rule 12(b)(6) dismissal, a district court must permit a curative amendment unless such an
      amendment would be inequitable or futile.” Phillips v. Cty. of Allegheny, 515 F.3d 224, 245 (3d Cir. 2008).
      For all of the reasons discussed above, including Plumbers' knowledge that the AWPs were not the actual
      average wholesale prices for Generic Drug Manufacturers' drugs, amendment would be futile. Therefore, I
      will deny Plumbers' request for leave to amend.



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                                                                   can be granted. As a consequence, he has acquired “three
                     2016 WL 7485968                               strikes,” in contravention of 28 U.S.C. § 1915(g), and cannot
      Only the Westlaw citation is currently available.            proceed in forma pauperis (“IFP”) in the present case. Nor
      United States District Court, W.D. Pennsylvania.             does Plaintiff come within the three strikes exception as the
                                                                   proposed Complaint fails to demonstrate that Plaintiff is in
          William Isom RICHARDSON, Plaintiff,                      imminent danger of serious physical injury.
                            v.
              Agent Robert L. WERNER and                           It is a plaintiff's burden to prove entitlement to IFP status.
                                                                   See White v. Gregory, 87 F.3d 429, 430 (10th Cir. 1996);
           Agent Eric J. Yingling, Defendants.
                                                                   New Assessment Program v. PNC Corp., No. Civ.A. 95-6059,
                   Civil Action No. 16-1551                        1995 WL 592588, at *1 (E.D. Pa. Oct. 3, 1995); In re Lassina,
                               |                                   261 B.R. 614, 618 (E.D. Pa. 2001) (“The applicant bears
                      Signed 10/17/2016                            the burden of proving her entitlement to IFP relief by a
                                                                   preponderance of the evidence.”).
Attorneys and Law Firms
                                                                   In considering Plaintiff's pending IFP Motion, this Court
William Isom Richardson, Youngstown, OH, pro se.
                                                                   takes judicial notice of court records and dockets of the
                                                                   federal courts located in the Commonwealth of Pennsylvania.
                                                                   DiNicola v. DiPaolo, 945 F. Supp. 848, 854 n.2 (W.D. Pa.
         REPORT AND RECOMMENDATION                                 1996) (court is entitled to take judicial notice of public
                                                                   records). A review of the electronic dockets of these courts
                        Re: ECF No. 1                              reveals that Plaintiff has accumulated at least “three strikes”
                                                                   within the contemplation of 28 U.S.C. § 1915(g) 1 which
MAUREEN P. KELLY,               CHIEF     UNITED      STATES       provides in relevant part that:
MAGISTRATE JUDGE

I. RECOMMENDATION
 *1 It is respectfully recommended that Plaintiff's Motion for                  In no event shall a prisoner bring a
Leave to Proceed In Forma Pauperis (the “IFP Motion”), ECF                      civil action or appeal a judgment in a
No. 1, be denied.                                                               civil action or proceeding under this
                                                                                section if the prisoner has, on 3 or more
                                                                                prior occasions, while incarcerated
II. REPORT                                                                      or detained in any facility, brought
Robert Isom Richardson (“Plaintiff”), is currently                              an action or appeal in a court of
incarcerated in the Northeast Ohio Correctional Center, as                      the United States that was dismissed
a pre-trial detainee for federal charges, arising from the                      on the grounds that it is frivolous,
Western District of Pennsylvania. USA v. Richardson, No.                        malicious, or fails to state a claim upon
2:16-cr-139-MRH-3 (W.D. Pa.). Plaintiff sought leave to                         which relief may be granted, unless the
proceed in forma pauperis in order to file a civil rights                       prisoner is under imminent danger of
complaint in this Court, suing two FBI agents, who were                         serious physical injury.
involved in the investigation of Plaintiff, which included the
obtaining of a wiretap on Plaintiff's phone. ECF No. 1-1 at
3–4. Plaintiff alleges that the two defendant FBI agents acted
                                                                   In this case, Plaintiff is a “prisoner” within the meaning of 28
without probable cause and violated his constitutional rights.
Plaintiff alleges that the actions of the Defendants occurred on   U.S.C. § 1915(g). 2
February 7, 2016, March 24, 2016, and June 6, 2016. Id. at 2.
                                                                    *2 The three strikes that Plaintiff has accumulated are as
Plaintiff is a prisoner who previously filed several prisoner      follows. The first strike is Richardson v. Mitchell, No. 94-
civil rights actions in federal court, which were dismissed        CV-852 (W.D. Pa. order dismissing complaint as legally
as frivolous or for failure to state a claim upon which relief     frivolous filed 7/5/94 at ECF No. 4). The second strike is



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                                                                          If the District Court adopts this recommendation, Plaintiff,
Richardson v. Berkley, No. 94-CV-1275 (W.D. Pa. order
                                                                          of course, may thereafter pay the entire filing fee within a
dismissing complaint as legally frivolous filed 9/15/94 at ECF
                                                                          time certain or face dismissal of the Complaint for failure to
No. 4). The third strike is Richardson v. Scarbrough, No. 97-
                                                                          prosecute.
CV-2273 (W.D. Pa. order dismissing complaint for failure
to state a claim upon which relief may be granted filed on
1/22/98 at ECF No. 3). Accordingly, because Plaintiff has                 III. CONCLUSION
at least three strikes he may not proceed IFP, unless “the                For the reasons set forth herein, it is recommended that the
prisoner is under imminent danger of serious physical injury”             pending IFP Motion, ECF No. 1, be denied.
as revealed by the complaint because imminent danger of
physical injury must be assessed as of the time of filing the             In accordance with the Magistrate Judges Act, 28 U.S.C. §
application for leave to proceed IFP and/or the complaint.                636(b)(1), and Local Rule 72.D.2, the parties are permitted
See Abdul-Abkar v. McKelvie, 239 F.3d 307 (3d Cir. 2001);                 to file written objections in accordance with the schedule
Banos v. O'Guin, 144 F.3d 883, 884 (5th Cir. 1998)(“The                   established in the docket entry reflecting the filing of this
plain language of the statute [i.e., Section 1915(g)] leads us            Report and Recommendation. Objections are to be submitted
to conclude that a prisoner with three strikes is entitled to             to the Clerk of Court, United States District Court, 700 Grant
proceed with his action or appeal only if he is in imminent               Street, Room 3110, Pittsburgh, PA 15219. Failure to timely
danger at the time that he seeks to file his suit in district court       file objections will waive the right to appeal. Brightwell v.
or seeks to proceed with his appeal or files a motion to proceed          Lehman, 637 F.3d 187, 193 n. 7 (3d Cir. 2011). Any party
IFP.”).                                                                   opposing objections may file their response to the objections
                                                                          within fourteen (14) days thereafter in accordance with Local
Given the allegations of the Complaint concerning the FBI                 Civil Rule 72.D.2.
agents, there is no imminent danger of serious physical injury.

Because Plaintiff has failed to carry his burden to show that he          All Citations
is in imminent danger of serious physical injury, which would
permit him to proceed IFP, the IFP motion should be denied.               Not Reported in Fed. Supp., 2016 WL 7485968




                                                              Footnotes


1       Abdul-Akbar v. McKelvie, 239 F.3d 307, 310 (3d Cir. 2001) (noting that 28 U.S.C. § 1915(g) is “popularly
        known as the ‘three strikes’ rule”), cert. denied, 533 U.S. 953 (2001).

2       The term prisoner as used in Section 1915 means “any person incarcerated or detained in any facility who is
        accused of, convicted of, sentenced for, or adjudicated delinquent for, violations of criminal law or the terms
        and conditions of parole, probation, pretrial release, or diversionary program.” 28 U.S.C. § 1915(h).



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